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              EXHIBIT G
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

                                          Eastern Division

PENNYMAC LOAN SERVICES, LLC,                           CIVIL ACTION
                                                       Case No: 2:19-cv-00193-KS-MTP
                                  Plaintiff,

        -vs-

SITCOMM ARBITRATION
ASSOCIATION, MARK MOFFETT,
SANDRA GOULETTE, RONNIE
KAHAPEA, MARK JOHNSON, KIRK
GIBBS, and ALARIC SCOTT,

                                  Defendants.

     PLAINTIFF PENNYMAC LOAN SERVICES, LLC’S NOTICE OF
   DEPOSITION OF DEFENDANT RONNIE KAHAPEA PURSUANT TO
                   FED. R. CIV. P. 26 AND 30
TO:                         ALL PARTIES AND THEIR ATTORNEYS OF RECORD

DEPONENT:                   RONNIE KAHAPEA

DATE:                       November 30, 2020

TIME:                       1:00 p.m. Central Standard Time

LOCATION:                   Remote by videoconference. See Exhibit A. Contact Veritext’s
                            calendar team at calendar-LA@Veritext.com to retrieve the
                            necessary credentials to access the remote deposition.




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        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
        Please take notice that pursuant to Rules 26 and 30 of the Federal Rules of
Civil Procedure, plaintiff PennyMac Loan Services, LLC (“PennyMac”) will take
the deposition by oral examination of defendant Ronnie Kahapea (“Deponent”) on
November 30, 2020 at 1:00 p.m. Central Standard Time via remote video
conference pursuant to Exhibit A.
        The remote deposition will be coordinated by Veritext Legal Solutions, with
a business address of 707 Wilshire Boulevard, Suite 3500, Los Angeles, CA
90017. Contact Veritext’s calendar team at calendar-LA@Veritext.com to retrieve
the necessary credentials to access the remote deposition, as well as information
related to any technical assistance you may require to assist with carrying out the
virtual deposition. We encourage you to access www.veritext.com/remote for
additional remote deposition information.
        The deposition will be taken, via remote means, before an officer authorized
to administer the oath to the Deponent. If the deposition is not completed on the
above date, the deposition will continue from day to day, weekends and holiday
excluded, until completed. Pursuant to Rule 30(b)(3)(A) of the Federal Rules of
Civil Procedure, PennyMac reserves the right to record the deposition by audio or
audiovisual means in addition to the stenographic method. PennyMac further
reserves the right to utilize software to generate the instant visual display of
testimony. Further, PennyMac reserves the right to conduct this deposition
utilizing the secure web-based deposition option afforded by Veritext or in the
alternative video teleconferencing (VTC) services or telephonically to provide
remote/virtual access for those parties wishing to participate in the deposition via
the internet and/or telephone. Take note that the deposition officer may also be
remote and out of the presence of the deponent via one of the options above for the

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purposes of providing the oath/affirmation to the deponent and capturing the
proceeding. We further reserve the right to utilize the following: (1) Exhibit
Capture (picture-in-picture) technology in which any exhibit reviewed by the
deponent during the deposition can be captured visually; and (2) To conduct this
deposition utilizing a paperless exhibit display process called Exhibit Share or a
similar paperless virtual display platform. The parties are advised that in lieu of a
paper set of exhibits they may be provided and displayed digitally to the deposition
officer, deponent, parties and counsel. The exhibits will be compiled by the
deposition officer for the purposes of exhibit stamping, and ultimate production of
the final certified transcript.
        Please contact the noticing attorney at least three (3) calendar days prior to
the deposition to advise that it is your desire to appear via these remote
participating means so that the necessary credentials, call-in numbers, email
address, services, testing and information, if necessary, can be arranged and
provided to you prior to the proceeding(s).

 Dated: November 11, 2020

                                            Respectfully submitted,

                                         /s/ Nicole Bartz Metral
                                         Cheryl S. Chang (admitted pro hac vice)
                                         Nicole Bartz Metral (admitted pro hac vice)
                                         Jessica A. McElroy (admitted pro hac vice)

                                         BLANK ROME LLP
                                         2029 Century Park East, 6th Floor
                                         Los Angeles, California 90067-2907
                                         Telephone: 424.239.3400
                                         Facsimile: 424.239.3434
                                         Chang@blankrome.com

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                                   Nbmetral@blankrome.com
                                   Jmcelroy@blankrome.com


                                   Harris F. Powers III
                                   Steven C. Cookston

                                   Upshaw, Williams, Biggers & Beckham,
                                   LLP
                                   309 Fulton Street
                                   Post Office Drawer 8230
                                   Greenwood, MS 38935-8230
                                   Telephone No.: 662-455-1613
                                   Fax No. 662-453-9245
                                   hpowers@upshawwilliams.com
                                   scookston@upshawwilliams.com

                                   Counsel for Plaintiff




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                                     EXHIBIT A

       1.    Physical Presence Prohibited. The witness will be made available for
deposition by video, with no attendees physically in the presence of the deponent.
Witnesses may not use any communication devices other than those to facilitate
the deposition during questioning and may not consult in any fashion with anyone
other than with representing counsel during questioning. Witnesses may not
privately confer with counsel at all during questioning except as to questions of
privilege.

       2.    Participant List. At least three calendar days prior to the noticed
deposition date, each individual planning to participate in the deposition must
notify the party noticing the deposition of his/her intent to participate and provide
the following information to the noticing party: (a) name, (b) email address, (c)
phone number. The noticing party will share this information with the vendor
arranging the deposition for the limited purpose of facilitating each participating
party's access to the video web portal for the deposition.

       3.    Technology Requirements. All video depositions will be
stenographically recorded by a court reporter with real-time feed capabilities.
Each individual participating in a deposition conducted by video must have a
webcam-equipped device (such as a desktop, laptop, or tablet), and a device with
audio-capabilities or access to a telephone for calling into the deposition. Other
than this equipment, the witness shall not be permitted to have access to any other
devices (such as a cellphone) while on the record.

       Noticing counsel are not responsible for the quality or functionality of the
video and audio stream for the witness, observers, or other participants. Attendees
agree to work in good faith to facilitate remote participation.

      4.      Identification of lndividuals in Attendance. Each witness, attorney,
and other person attending the deposition shall be identified on the record at the
commencement of the deposition. Under no circumstances may a person attend
the deposition remotely in any manner without identifying themselves on the
record at the commencement of the deposition.

       5.    Conduct by Participants Appearing Remotely. Each individual
participating in the deposition (including counsel for the deponent) must do so
remotely and must have an active video stream and audio line for the duration of
the deposition. Each participant should attend from a quiet, private location.

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       6.    Deponent Communication During a Video Deposition. During the
deposition, Deponent shall not communicate with anyone at all outside of the
video/audio stream. This includes, but is not limited to, instant messaging, text
messaging, or any equivalent. In the event any such communications occur, the
parties agree that the communications are discoverable.

        7.    Disruptions. In the event a participant's video feed is interrupted or
otherwise becomes hidden from view, the deposition will be suspended, and the
parties will go back on the record only when the participant's video stream
functionality has been restored. Disruptions due to video streaming, phone line
interruptions, or other technical problems shall not be counted against record time.
If a party believes that the transmission and/or recording was disrupted in bad
faith, including but not limited to for purposes of delay, it may request that an
additional videographer record other participants and may seek further appropriate
relief from the Court.

       8.     Court Reporter and Videographer. The parties will stipulate, in
accordance with Federal Rule of Civil Procedure 30(b)(5), that the court reporter or
videographer may participate in the deposition by remote means, and that the
deposition will be deemed to have been conducted "before" that officer, even
though the officer is not physically present with the deponent, so long as that
officer is able to identify the deponent.

       9.    Official Record. The court reporter's transcript, and the videographer'
s recording (if any), shall constitute the official record of the deposition for all
purposes.

       10. Other Recording. No participant other than the court reporter and
videographer (if any) may record or photograph any of the proceedings. This shall
include recording using any form of remote transmitting device, computer
recording device, laptops, camera, and personal device, including smart phones,
tablets, iPads, Androids, iPhones, Blackberries, or other PDAs. Nothing in this
provision prevents or limits the taking of notes by those identified on the record.

      11. Use of Remote Depositions at Trial. Remote depositions conducted in
accordance with this Protocol may be admitted at trial with the same effect as a
deposition conducted inperson.

       12. Instant Visual Display Technology. In the event the noticing party
utilizes instant visual display technology such that the court reporter's writing of

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the proceeding will be displayed in real-time, the witness shall not have access to
the instant visual display.

      13. Applicable Authority. Unless otherwise set forth herein, the Federal
Rules of Civil Procedure, Federal Rules of Evidence, and other applicable
authority shall govern as though the deposition was conducted in-person.

       14. Duration. Nothing herein prevents a noticing party from conducting
an in-person deposition once COVID-19 related preventative measures are lifted in
the states where the parties and counsel reside. If, however, a noticing party elects
to conduct a deposition by remote means even after such measures are lifted, the
terms of this Protocol shall continue to govern.




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                                PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
      I am employed in the county of Los Angeles, State of California. I am over
the age of 18 and not a party to the within action; my business address is BLANK
ROME LLP, 2029 Century Park East, 6th Floor, Los Angeles, California 90067.
        On November 11, 2020, I served the foregoing document(s):

     PLAINTIFF PENNYMAC LOAN SERVICES, LLC’S NOTICE OF
   DEPOSITION OF DEFENDANT RONNIE KAHAPEA PURSUANT TO
                   FED. R. CIV. P. 26 AND 30


       on the interested parties in this action addressed and sent as follows:

                            SEE ATTACHED SERVICE LIST


  BY ENVELOPE: by placing  the original  a true copy thereof enclosed
      in sealed envelope(s) addressed as indicated and delivering such envelope(s):
  BY MAIL: I caused such envelope(s) to be deposited in the mail at Los
      Angeles, California with postage thereon fully prepaid to the office or home of
      the addressee(s) as indicated. I am “readily familiar” with this firm’s practice
      of collection and processing documents for mailing. It is deposited with the
      U.S. Postal Service on that same day, with postage fully prepaid, in the
      ordinary course of business. I am aware that on motion of party served,
      service is presumed invalid if postal cancellation date or postage meter date is
      more than one day after the date of deposit for mailing in affidavit.

  BY FEDEX: I caused such envelope(s) to be deposited in a box or other
      facility regularly maintained by FedEx, an express service carrier, or delivered
      to a courier or driver authorized by said express service carrier to receive
      documents in an envelope designated by the said express service carrier,
      addressed as indicated, with delivery fees paid or provided for, to be
      transmitted by FedEx.


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  FEDERAL: I declare that I am employed in the office of a member of the bar
      of this court at whose direction service was made.

        Executed on November 11, 2020 at Los Angeles, California.

                                              /s/Charman S. Bee
                                              Charman S. Bee




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                               SERVICE LIST
      Pennymac Loan Services, LLC v. Sitcomm Arbitration Association, et al.;
                      Case No. 2:19-cv-00193-KS-MTP


 BY U.S. MAIL
 Ronnie Kahapea                           Defendant
 P.O. Box 875
 Volcano, HI 96785

 BY FED EX
 Mark Johnson                             Defendant
 451 May Lane
 Louisa, VA 23093

 BY FED EX
 Kirk Gibbs                               Defendant
 3115 Lawrenceville Rd.
 PMB 8119
 Lilburn, GA 30047

 BY FED EX
 Sandra Goulette                          Defendant
 3007 Crescent Hill Drive
 Laurel, MS 39440

 BY FED EX
 Mark Moffett                             Defendant
 345 Coon Jeffcoat Road
 Soso, MS 39480




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